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JS 44 (Rev. 4-29-21

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
Lesbia Alvarado
(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Pechman Law Group PLLC, 488 Madison Avenue, 17th

Floor, New York, NY 10022; 212-583-9500

DEFENDANTS

County of Residence

NOTE:

Attomeys (if Known)

 

TVI Inc. d/b/a Savers

of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

(J3 Federal Question
(U.S. Government Not a Party)

(1 US. Government
Plaineiff

[J2_ U.S. Government
Defendant

Does this action include a motion for temporary restraining order or order
to show cause? Yes No[Z)”

[x]4 Diversity
(Indicate Citizenship of Parties in Item III)

 

 

 
   
   
  

110 Insurance PERSONAL INJURY

   
  

~ PERSONAL INJURY
120 Marine 310 Airplane (CJ 365 Personal Injury -
130 Miller Act 315 Airplane Product Product Liability
140 Negotiable Instrument Liabitity () 367 Health Care/
LJ 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury
151 Medicare Act 330 Federal Employers’ Product Liability
152 Recovery of Defaulted Liabitity oO 368 Asbestos Personal
Student Loans 340 Marine Injury Product
(Excludes Veterans) 345 Marine Product Liability
[] 153 Recovery of Overpayment Liability PERSONAL PROPERTY
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud
[] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending
[| 190 Other Contract Product Liability [_] 380 Other Personal
195 Contract Product Liability 360 Other Personal Property Damage
196 Franchise Injury [385 Property Damage
|] 362 Personal Injury - Product Liability
Medical Malpractice

   
    
 
    
 

     

"7210 Land Condemnation

 
      
   

    
  
  
 
 
 

 

440 Other Civil Rights
[_]220 Foreclosure 441 Voting I
230 Rent Lease & Ejectment 442 Employment | _} 510 Motions to Vacate
240 Torts to Land 443 Housing/ Sentence
245 Tort Product Liability Accommodations |_| 530 General
290 All Other Real Property [_] 445 Amer. w/Disabilities -[_] 535 Death Penalty
Employment Other:
| 446 Amer. *W/Disabilites -[__| 540 Mandamus & Other
Other |_| 550 Civil Rights
[_] 448 Education |_| 555 Prison Condition

|_| 560 Civil Detainee -
Conditions of
Confi

Foreign Country

J62s Ding Related Seizure
of Property 21 USC 881
[_]690 Other

  
 

[710 Fair Labor Standards
Act
|_}720 Labor/Management
Relations
740 Railway Labor Act
751 Family and Medical
Leave Act

[X]790 Other Labor Litigation
791 Employee Retirement
Income Security Act

 
     

 

SS

462 Naturalization Application

465 Other Immigration
Actions

 
 

 

  

|_| 423 Withdrawal
28 USC 157

  

r] 861 HIA (13958
862 Black Lung (923)
863 DIWC/DIWW (405(g))
864 SSID Title XVI

865 RSI (405(g))

[_] 870 Taxes (US. Plaintiff
or Defendant)

{_] 871 IRS—Third Party

26 USC 7609

 

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
{For Diversity Cases Only) and One Box for Defendant)
PTF DEF PTF DEF
Citizen of This State (]1 [1 1 Incorporated or Principal Place [J 4 ((]4
of Business In This State
Citizen of Another State  [(]2 [[] 2 Incorporated and Principal Place []5 Js
of Business In Another State
Citizen or Subject of a (13 [7 3 Foreign Nation Os Ce

  
   
 

 
    
       
 
      
 
     
     
     
 
 
   
 
 
    
 
   

3729(a))
400 State Reapportionment
410 Antitrust
430 Banks and Banking
450 Commerce
460 Deportation
470 Racketeer Influenced and
Corrupt Organizations
|_| 480 Consumer Credit
(15 USC 1681 or 1692)
r | 485 Telephone Consumer
Protection Act
490 Cable/Sat TV
850 Securities/Commodities/
Exchange
H 890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters
|_| 895 Freedom of Information
Act
Act/Review or Appeal of
Agency Decision

896 Arbitration

899 Administrative Procedure
| 950 Constitutionality of

State Statutes

 

 

 

 

 

V. ORIGIN (Place an "Xx" in One Box Only)

—] 1 Original oo Removed from 3  Remanded from oO 4 Reinstated or oO 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

28 U.S.C. § 1332(d)
Brief description of cause:

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Action under the New York Labor Law as a class action, under Rule 23, for untimely payment of wages

 

 

 
 

 

 

 

 

 

VII. REQUESTED IN [xX] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [«lYes [JNo
VIII. RELATED CASE(S)
IF ANY (See instructions): DOCKET BER
DATE SIGNATU. EY OF RECORD
01/19/2023
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
Case 2:23-cv-00362-ENV-JMW Document1 Filed 01/19/23 Page 2 of 2 PagelD #: 2
CERTIFICATION OF ARBITRATION ELIGIBILITY

Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a

certification to the contrary is filed.

Case is Eligible for Arbitration C]

 

I, Louts Pechman , counsel for Lesbia Alvarado , do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s): .

monetary damages sought are in excess of $150,000, exclusive of interest and costs,

[| the complaint seeks injunctive relief,

[| the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

 

Identify any parent corporation and any publicly hetd corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section Vill on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rute 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of Judicial resources Is likely to result from assigning both cases to the same Judge and magistrate judge.” Rule 50.3.1 (b) provides that * A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”

NY-E DIVISION OF BUSINESS RULE 1(c)

1.) Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County? C] Yes WJ No

2.) If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
County? Yes Cl No
b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? Yes No

c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was

received:
If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in interpleader sce does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County? A es No

(Note: A corporation shail be considered a resident of the County in which it has the most significant contacts).

BAR ADMISSION

1 am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
Yes Cl to

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

WI No

Signature:

 

 

Last Modified: | 1/27/2017
